






In The



Court of Appeals



Ninth District of Texas at Beaumont



  ______________________ 


					

NO. 09-07-489 CR


  ______________________


	

DAVID EARL FLOWERS, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 95122






MEMORANDUM OPINION


	On September 18, 2007, the trial court sentenced David Earl Flowers on a conviction
for burglary of a habitation.  Flowers filed a notice of appeal on September 27, 2007.  The
trial court entered a certification of the defendant's right to appeal in which the court certified
that this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The district clerk has provided the trial court's certification to the Court of
Appeals.

	On October 2, 2007, we notified the parties that we would dismiss the appeal  unless
the trial court filed an amended certification within thirty days of the date of the notice and
made it a part of the appellate record.  See Tex. R. App. P. 37.1.  The trial court has not
supplemented the record with an amended certification.

	Because the record does not contain a certification that shows the defendant has the
right of appeal, we must dismiss the appeal.  See Tex. R. App. P. 25.2(d).  Accordingly, we
dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	

								                                                        

									DAVID GAULTNEY

										Justice	


Opinion Delivered November 28, 2007

Do Not Publish


Before McKeithen, C.J., Gaultney and Horton, JJ.


